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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

JAMIE VAUGHT                                    CIVIL ACTION
VERSUS                                          NO:   19-0994
WELLPATH, LLC                                   SECTION: "S" (5)

                          ORDER OF DISMISSAL

        The court having been advised by counsel for the parties

that all of the parties to this action have firmly agreed upon a

compromise, IT IS ORDERED that the action be and it is hereby

dismissed without prejudice to the right, upon good cause shown,

to reopen the action or to seek summary judgment enforcing the

compromise if settlement is not consummated within a reasonable

time.     Each party will bear its own costs.    The Court retains

jurisdiction for all purposes, including enforcing the settlement

agreement entered into by the parties.

        If witnesses have been subpoenaed, EVERY WITNESS MUST be

notified by counsel not to appear.

        New Orleans, Louisiana, this 7TH day of February, 2020.


                 ____________________________________
                         MARY ANN VIAL LEMMON
                     UNITED STATES DISTRICT JUDGE
